  Case 19-01253       Doc 40   Filed 11/01/19 Entered 11/01/19 14:43:51   Desc Main
                                 Document     Page 1 of 3



                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION
______________________________________________________________________________

IN RE:                              )    Bankruptcy No. 19-01253
                                    )    Chapter 11
Second Progression, LLC,            )
                                    )
                                    )
            Debtor.                 )
______________________________________________________________________________

   CONSENT ORDER ON WFRBS 2013-C18 Third Avenue SE, LLC Motion to Dismiss

         Now upon consideration of the Motion to Dismiss and Request for a 180-

Day Bar to Re-filing filed herein on behalf of WFRBS 2013-C18 Third Avenue SE,

LLC, its successors and assigns (“Secured Creditor”) on October 9, 2019 (DN

26)(the “Motion”), having reviewed the file, and noting proper service of the

Motion on interested parties, and further noting that the objections(s), if any,

filed to the Motion have been withdrawn, and having been fully advised in the

premises, and having heard the parties during the October 30, 2019 hearing on

the Motion (the “Hearing”), the Court finds that the relief sought by Secured

Creditor in the Motion should be granted. In accordance therewith, it is

         ORDERED, ADJUDGED AND DECREED that the Motion is sustained, the

bankruptcy case filed by Debtor is hereby dismissed, with a bar to re-filing to the

date that is 180 days from the date of entry of this Order, and that thereafter

another bankruptcy petition may be filed only upon proper corporate

authorization by the Debtor in accordance with its Operating Agreement.

 Dated and Entered:
 November 1, 2019



                                          UNITED STATES BANKRUPTCY JUDGE



# 3121042
 Case 19-01253     Doc 40      Filed 11/01/19 Entered 11/01/19 14:43:51   Desc Main
                                 Document     Page 2 of 3



Prepared and submitted by:


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                                           -2-
 Case 19-01253    Doc 40   Filed 11/01/19 Entered 11/01/19 14:43:51   Desc Main
                             Document     Page 3 of 3




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                                       -3-
